           Case 1:10-cr-00249-JLT-BAM Document 317 Filed 03/12/15 Page 1 of 4



 1 BENJAMIN B. WAGNER
   United States Attorney
 2 KIRK E. SHERRIFF
   HENRY Z. CARBAJAL III
 3 Assistant United States Attorneys
   2500 Tulare Street, Suite 4401
 4 Fresno, CA 93721
   Telephone: (559) 497-4000
 5 Facsimile: (559) 497-4099

 6 Attorneys for the
   United States of America
 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                              CASE NO. 1:10-cr-00249-AWI-BAM-2
12                                 Plaintiff,               AMENDED STIPULATION RE
                                                            RESTITUTION; ORDER
13   v.
                                                            DATE: February 23, 2015
14   MONICA MARIE HERNANDEZ,                                TIME: 10:00 a.m.
                                                            JUDGE: Hon. Anthony W. Ishii
15                                 Defendant.
16

17                                              STIPULATION
18          The United States of America, by and through its counsel of record, and defendant, by and
19
     through her counsel of record, hereby stipulate as follows:
20
            1.      On January 5, 2015, the defendant was sentenced by the Court to a term of
21
     imprisonment and supervised release, following a guilty plea to one count of conspiracy to commit
22
23 mail, wire and bank fraud (18 U.S.C. § 1349).

24          2.      At the sentencing hearing, the Court set a further hearing to determine restitution for

25 February 23, 2015 at 10:00 a.m.
26          3.      The parties have reached this agreement and stipulation as to the restitution amount
27
     owed by the defendant, as set forth below. The parties therefore jointly request that the restitution
28
                                                        1
29
            Case 1:10-cr-00249-JLT-BAM Document 317 Filed 03/12/15 Page 2 of 4


     hearing set for February 23, 2015 be vacated if the Court orders restitution pursuant to this
 1
     stipulation.
 2

 3           4.     The parties agree and stipulate, and request that the Court find the following:

 4           a.     The total amount of restitution owed by defendant Hernandez is set forth in
 5 Attachment A to this stipulation. Attachment A describes the total amount of restitution and the

 6
     apportionment of restitution among defendant Hernandez’s victims in this case.
 7
             b.     The parties’ stipulation and the agreed amounts in Attachment A satisfy the
 8
     requirements of 18 U.S.C. § 3664(d)(5), requiring a determination of victim’s losses “not to exceed
 9

10 90 days after sentencing.”

11           c.     Defendant Hernandez agrees that the judgment and commitment issued in her case

12 will be amended to include the restitution amounts and apportionment agreed to in Attachment A.

13           d.     Restitution as stated in Attachment A shall be due during the period of imprisonment,
14
     at the rate of not less than $25 per quarter, and pursuant to the Bureau of Prisons’ Inmate Financial
15
     Responsibility Program. If any amount of restitution remains unpaid after release from custody, the
16
     United States Probation Officer assigned to Monica Marie Hernandez shall set a schedule ordering
17

18 payments depending on the defendant's monthly income, but not less than $50.00, during the period

19 of supervised release, such payments to begin 120 days after the commencement of supervision.
20 The interest is waived.

21
     ///
22
     ///
23
     ///
24
     ///
25
26 / / /

27 / / /

28
                                                        2
29
          Case 1:10-cr-00249-JLT-BAM Document 317 Filed 03/12/15 Page 3 of 4


     IT IS SO STIPULATED.
 1
     DATED:      February 25, 2015
 2                                   /s/ Henry Z. Carbajal III
                                     HENRY Z. CARBAJAL III
 3                                   Assistant United States Attorney
 4 DATED:        February 25, 2015
                                     /s/W. Scott Quinlan
 5                                   W. SCOTT QUINLAN
                                     Counsel for Defendant
 6                                   MONICA MARIE HERNANDEZ
 7
                                            ORDER
 8
 9 IT IS SO ORDERED.

10
     Dated: March 11, 2015
11                                         SENIOR DISTRICT JUDGE

12

13

14

15

16

17

18

19
20

21

22
23

24

25
26

27

28
                                                 3
29
                                                                           ATTACHMENT A
                                    Case 1:10-cr-00249-JLT-BAMRestitution
                                                                Document    317 Filed 03/12/15 Page 4 of 4
                                                                          Amount
                                                                        Monica Marie Hernandez


                                                                       Restitution-      Restitution-
               Property                     Originating Lender         First Loan       Second Loan        Entity to Receive Resitution          Reference
3715 Kathy Suzanne Way, Bakersfield      Long Beach Mortgage Co.        $209,108.72        $80,115.38                  FDIC             Bates 35832, 35841
3706 Kathy Suzanne Way, Bakersfield      Long Beach Mortgage Co.        $249,427.07       $109,330.19                  FDIC             Bates 23866, 23871
11418 Valley Forge Way, Bakersfield      Long Beach Mortgage Co.        $149,080.86        $69,918.74                  FDIC             Bates 21557, 21569

                                                                                                  Total:          $866,980.96


Restitution for the above properties is to be joint and several with co-defendant Eric Ray Hernandez.
Restitution for 3715 Kathy Suzanne Way is to be joint and several with co-defendants Eric Ray Hernandez and Evelyn Sanchez.




                                                                              Page 1 of 1
